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Attorneys for the Plaintiff
UNITED STATES OF AMERICA

               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,            ) CR. NO. 21-00061 LEK
                                     )
                    Plaintiff,       ) UNITED STATES’ SENTENCING
     vs.                             ) STATEMENT; CERTIFICATE OF
                                     ) SERVICE
MARTIN KAO                           )
                                     )
                    Defendant.       )
                                     )


              UNITED STATES SENTENCING STATEMENT
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      The United States has no objections or corrections to the Draft Presentence

Report in the above-captioned matter.

      DATED:      July 25, 2023, at Honolulu, Hawaii.

                                            CLARE E. CONNORS
                                            United States Attorney
                                            District of Hawaii

                                            By /s/ Craig S. Nolan
                                              CRAIG S. NOLAN
                                              Assistant U.S. Attorney
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that, on the date and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following at their

last known addresses:

Served Electronically through EM/ECF:

      Victor J. Bakke                        vbakke@bakkelawfirm.com
      Defense Counsel for Defendant
      MARTIN KAO

Served Via Email:
     Derek Kim                               derek_kim@hip.uscourts.gov
     U.S. Probation Officer
     District of Hawaii

      DATED: June 25, 2023, at Honolulu, Hawaii.


                                             /s/Desirai Dawson-Tolbert
                                             U.S. Attorney’s Office
                                             District of Hawaii
